    Case 0:23-cv-62179-RKA Document 7-7 Entered on FLSD Docket 11/20/2023 Page 1 of 1
Уважаемый (ая) СОЛОВЬЁВ ПАВЕЛ АЛЕКСЕЕВИЧ,
Настоящим подтверждаем, что следующий платеж был успешно совершен:




Дата платежа:               08/09/2022
Сумма списания:             78,004.00 USD
Имя клиента:                СОЛОВЬЁВ ПАВЕЛ АЛЕКСЕЕВИЧ
Со счета/карты:             xxxxxx4031
Номер подтверждения:        BKOFG220908O379326
Имя получателя:             TRAVELWORKS INC.
На счет:                    xxxxxxxx2228
Детали перевода:            PAYMENT FOR EDUCATION. UNIVERCITYTUITION FEES ETC.
                            INVOICE NPT/US-08/22/67/2 DATED 30.08.2022




С уважением,
АО КБ «Ситибанк»
03/07/2023 21:34 по московскому времени
